Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 1 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 2 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 3 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 4 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 5 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 6 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 7 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 8 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 9 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 10 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 11 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 12 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 13 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 14 of 15
Case 1:10-cv-00513-NAM-RFT Document 99 Filed 09/25/12 Page 15 of 15
